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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA

                        TRUSTEE’S SUPPLEMENTAL REPORT
                       FOLLOWING CONFIRMATION HEARING


     CASE NO.   A18-53785-SMS                    SAGE M. SIGLER, JUDGE
     DEBTOR(S): FRANK LEE WILLIAMS               DATE: JULY 17, 2018

           K. EDWARD SAFIR REPORT BACK IN 10 DAYS

           AFTER REVIEW OF 2015 AND 2016 STATE TAX RETURN(S).

           THE TRUSTEE HAS REVIEWED THE CASE AS INSTRUCTED AND

           RECOMMENDS AGAINST CONFIRMATION BECAUSE:
           THE TRUSTEE HAS NOT RECEIVED THE DEBTOR’S 2015 AND
           2016 STATE TAX RETURN(S).
           PLEASE ENTER AN ORDER OF DISMISSAL.


           August 23, 2018



                                        /s/
                              K. EDWARD SAFIR, ATTORNEY
                              STATE BAR NO. 622149




     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N. E.
     Atlanta, GA 30303-1740
     (404) 525-1110
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Case 18-53785-sms   Doc 18   Filed 08/23/18 Entered 08/23/18 11:59:41   Desc
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     A18-53785-SMS

                             CERTIFICATE OF SERVICE

           This is to certify that I have this day served

     DEBTOR(S):

     FRANK LEE WILLIAMS
     2527 BROWNS MILL ROAD, SE
     ATLANTA, GA 30354

     ATTORNEY FOR DEBTOR(S):

     SLIPAKOFF & SLOMKA, PC
     OVERLOOK III - SUITE 1700
     2859 PACES FERRY RD, SE
     ATLANTA, GA 30339

     in the above in the foregoing matter with a copy of this
     pleading by depositing same in the United States Mail in a
     properly addressed envelope with adequate postage thereon.

     This 23rd day of August 2018




                    /s/        _____
     K. EDWARD SAFIR, ATTORNEY
     STATE BAR NO. 622149




     Mary Ida Townson, Chapter 13 Trustee
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